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                     EXHIBIT 5
          Demand for Arbitration and
            Arbitration Complaint
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                                                                 ~DR~
                                                                                                  DEMAND FOR ARBITRATION
                                                                                                    before ADR Services, Inc.
                                                                  SERVICES.     INC.



                               AMA MULTIMEDIA.         LLC
 _\ ___ ."ow .. -..   w   ••



Representative/Attorney (if known)                                         Representative/Attornev        (if known)
Name:      Ronald D. Green                                                 Name:
Law Firm: Randazza Legal Group                                             Law Firm:
Address:  3625 S. Town Center Drive                                        Address:
           Las Vegas, NV 89135


Telephone (702) 420-2001                                                   Telephone:
Facsimile: (305) 437-7662                                                  Facsimile:
Email:     ecf@randazza.com                                                Email


  \'   ......... _."'..., ....... '/, BORJAN   SOLUTIONS.        S.L .. et al
Representative/Attorney (if known)                                         Representative/Attorney        (if known)
Name:       Val Gurvits                                                    Name:
Law Firm:   Boston Law Group, P.C.                                         Law Firm:
Address:    825 Beacon Street, Suite 20                                    Address:
            Newton Centre, MA 02459                                                                   ,


Telephone             (617) 928-1804                                       Telephone:
Facsimile             (617) 928-1802                                       Facsimile:
Email:                vgurvits@bostonlawgroup.com                          Email:

  NATURE OF DISPUTE: Claimant hereby demands that you submit the followinq dispute to arbitration.


<See attached                  complaint>


                                                      (attach additional paces if necessary)

  ARBITRATION AGREEMENT: This demand is made pursuant to the arbitration agreement you made on
  the instrument described as'

<See attached                  complaint>


                                                (please attach a copy of Ihe arbilration aareement)

 MEDIATION: If mediation in advance of the arbitration is desired, or required, please check here
                                                                                                                                 0
    and ADR Services, Inc. will assist the parties in coordinating a mediation proceeding first:
  CLAIM OR RELIEF SOUGHT (describe):


<See attached                  complaint>


                                                      (attach additional pages if necessary)



  Demand for Arbitration                                                                                      Updated: December 5, 2012
  ADR Services, Inc.                                                                                            www.ADRSERVICES.org
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Claimant's Name:AMA           MULTIMEDIA,      LLC                                 Demand for Arbitration before
Respondent's Name: BORJAN             SOLUTIONS,      S.L., et al.                     ADR Services, Inc.


  OTHER RELIEF SOUGHT:
      Attorney Fees                                         D Interest
H     Arbitration Fees                                      D Punitive / Exemplary
 tbther:
<See attached complaint>

 RESPONSE: You may file a response and counter-claim to the claim stated in the previous page. Send
 the original of the response and counter-claim to the Claimant at the address stated above, with copies
 to ADR Services, Inc. office.6i9.cked below:

                                    (m;iy be signed by an attorney):

                                                                       :s4?O\S
                                                                       Date
                                                                       Attorney   for AMA Multimedia,     LLC

Print Name                                                             Title (if Claimant is a company)

                           DIRECTIONS FOR SUBMITTING             DEMAND FOR ARBITRATION

           1.       Please serve a copy of the Demand for Arbitration, pre-dispute Arbitration Agreement, and
                    any additional claim documents to the opposing counsel (if the opposing side is not or not
                    yet represented by counsel, please submit the aforementioned documents to the opposing
                    party).
           2.          Please include a check payable to ADR Services, Inc. for the required, non-refundable
                       $300 Initial Filing Fee and submit to the appropriate ADR Services, Inc. office along with
                       your Demand for Arbitration.
           3.          Please submit a copy of the Demand for Arbitration, pre-dispute Arbitration Agreement,
                       and any additional claim documents to the appropriate ADR Services, Inc. office:
    D      Century City I West Los Angeles                  121      Downtown Los Angeles
           1900 Avenue of the Stars, Suite 250                       915 Wilshire Boulevard, Suite 1900
           Los Angeles, California 90067                             Los Angeles, California 90017
           Tel: (310) 201-0010/ Fax: (310) 201-0016                  Tel: (213) 683-1600/ Fax: (213) 683-9797

    D San Francisco I Northern California                   D        San Diego
           100 First Street, 27'h Floor                              225 Broadway, Suite 1400
           San Francisco, California 94105                           San Diego, California 92101
           Tel: (415) 772-0900/ Fax (415) 772-0960                   Tel. (619) 233-1323 / Fax: (619) 233-1324

     D Orange County                                        D        Silicon Valley
           19000 MacArthur Boulevard, Suite 550                      100 First Street, 271hFloor
           Irvine, California 92612                                  San Francisco, California 94105
           Tel: (949) 863-9800/ Fax: (949) 863-9888                  Tel: (415) 772-0900/ Fax: (415) 772-0960
           4.          If you have any questions regarding the Demand for Arbitration or procedures regarding
                       the Binding Arbitration, please feel free to visit our website at www.adrservices.org or
                       contact the filing office above and ask for the "Arbitration Coordinator".




  Demand for Arbitration                                     2                                  Updated: December 5,2012
  ADR Services, Inc.                                                                              www.ADRSERVICES.org
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RANDAZZA LEGAL GROUP
Marc J. Randazza, Esq.
Ronald D. Green, Esq.
3625 S. Town Center Drive, Suite 150
Las Vegas, NV 89135
Telephone: 702-420-2001
Facsimile: 305-437-7662
ecf@randazza.com

                          BEFORE A.D.R. SERVICES, INC.
                            CLARK COUNTY, NEVADA

AMA MULTIMEDIA, LLC, a Nevada                  Case No.:
limited liability company,

               Complainant,

v.

BORJAN SOLUTIONS, S.L. d/b/a
SERVIPORNO, a Spanish company;
and BORJAN MERA URRESARAZU,
an individual,

               Respondents.



                              ARBITRATION COMPLAINT

         Complainant AMA Multimedia, LLC, through its counsel Randazza

Legal Group, brings this Arbitration Complaint against Respondents Borjan

Solutions, S.L. d/b/a Serviporno and Borja Mera Urrestarazu as follows:

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                                    THE PARTIES

         1.    Complainant AMA Multimedia, LLC (“AMA”)1 is a Nevada limited

liability company with its principal place of business in Las Vegas, Nevada.

AMA produces adult audiovisual material, which it distributes via the World

Wide Web under such well-known brands as “Passion-HD” and “Porn Pros,”

among others.

         2.    Respondent Borjan Solutions, S.L. d/b/a Serviporno (“Serviporno”)

is a Spanish company, operating within the Principality of Asturias. Serviporno

owns and operates the website located at <serviporno.com>, as well as the

other websites referenced in this Complaint.

         3.    Respondent Borjan Mera Urresarazu (“Borjan”) is the principal of

Serviporno and is responsible for the operations of the website located at

<serviporno.com>, as well as the other websites referenced in this Complaint.

                                   JURISDICTION

         4.    This matter is properly before this arbitration service. On or about

August 26, 2013, the parties to this dispute executed a Settlement Agreement

and Mutual Release (the “Agreement”).

         5.    The Agreement provided that the parties would first informally

negotiate any disputes relating or arising out of the Agreement. If informal

negotiations were unsuccessful, the parties would engage in mediation of

the dispute. If mediation was unsuccessful, the parties would engage in
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
              1 Some of the facts alleged in this Arbitration Complaint were taken by

AMA’s predecessor-in-interest, SSC Group, LLC.
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arbitration in Clark County, Nevada. The Agreement was silent regarding the

arbitration body to be selected by the aggrieved party. (See Settlement

Agreement and Mutual Release, at ¶ 20.0, attached hereto as Exhibit 1.)

         6.    The parties engaged in informal negotiations on January 23,

2015 at the offices of AMA’s counsel. A representative of and counsel for

AMA appeared in person on AMA’s behalf. Counsel for Borjan and

Serviporno appeared on Respondents’ behalf while Borjan appeared

telephonically on behalf of himself and Serviporno. The parties could not

resolve their differences.

         7.    The parties engaged in mediation on May 21, 2015 at the offices

of AMA’s counsel. A representative of and counsel for AMA appeared in

person on AMA’s behalf. Counsel for Borjan and Serviporno appeared on

Respondents’ behalf while Borjan appeared via videoconference on behalf

of himself and Serviporno. Las Vegas attorney Clyde DeWitt served as

mediator. The parties were unable to resolve the dispute.

         8.    Given that informal negotiations and mediation were not

successful, AMA now seeks to arbitrate the claims it possesses against

Respondents pursuant to the terms of the Agreement.

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                             FACTUAL ALLEGATIONS

                            The Parties’ Initial Dispute

         9.    In mid-2013, AMA learned that Respondents were engaged in

large-scale copyright infringement of Complainant’s works and the works of

other adult entertainment content producers on the website located at

<serviporno.com>.

         10.   On an Internet forum for adult industry webmasters, located at

<gfy.com>, Borjan started a thread to advertise his services. (See GFY.com

thread entitled “Cumlouder: a new crazy company in the adult industry,”

dated December 3, 2012 and attached hereto as Exhibit 2.)

         11.   One GFY user confronted Borjan regarding the rampant

copyright infringement on Serviporno, stating that the site had “tons of full

videos from all major major content [sic] producers of the world” and asked

Borjan why he was posting videos from “content producers who didn’t give

[him] permission to broadcast their scenes in full.” (See id.)

         12.   Another GFY user noted that Serviporno contained “full length

videos from the biggest programs, their own watermarks over the copyright

owner’s watermark,” while another user emphatically stated that most of the

content on Serviporno was stolen from other content producers. (See id.)

         13.   Borjan admitted that he was unlawfully taking videos from other

tube sites and uploading them to Serviporno. (See id.) Borjan implied that he




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knew his actions were unlawful but that he did not think he was doing any

damage to the copyright owners whose works he was infringing. (See id.)

         14.   Following Borjan’s admission, a GFY user wrote that if he does not

“have a license for the content, own the content or have user uploaded

content covered by a takedown policy then [he] shouldn’t have it [on

Serviporno].” Shortly thereafter, Borjan responded “we know it, is the way we

choose to open,” causing another content producer to question “How do

you know you don’t make any damage to our company by showing our full

scenes with your logo on it?” (See id.)

         15.   As more and more GFY forum users complained that Borjan and

Serviporno were stealing content from them and replacing their watermarks

with Respondents’ watermarks, Borjan abandoned the thread that he started

to promote his business.

         16.   Borjan’s and Serviporno’s content theft was particularly offensive

to Complainant AMA (and to the content producers participating in the GFY

thread Borjan started to promote his business) because Respondents were

brazenly stealing and posting content, admitting to it online, and insisting that

its actions were not harming content producers and were an acceptable

business practice.

                               The Initial Settlement

         17.   After   AMA    learned     of   Respondents’   infringement   and

investigated the Serviporno website, it began making plans to file suit against


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Serviporno in the U.S. District Court for the Northern District of Texas, the

location of Respondents’ servers at the time. Currently, Respondents’ servers

are located in Los Angeles, California.

         18.   Before filing the litigation, AMA attempted to engage in

settlement discussions with Respondent.

         19.   These discussions were productive, leading AMA to believe that

Respondents were willing to resolve the issues between the parties without

the necessity of litigation.

         20.   The parties agreed upon a settlement, but Borjan and Serviporno

insisted that all of the content on Serviporno was uploaded by users and

refused to admit otherwise. While AMA knew this to be false, its main concern

was getting its copyrighted content off of the Serviporno website, so it

entered into the Agreement with Respondents.

         21.   In August 2013, the parties executed the Agreement, which was

designed to ensure that Respondents would stop stealing and posting AMA’s

content on the Serviporno website. (See Exhibit 1.) It additionally required

Respondents to take down all content that infringed upon AMA’s copyrights

and to enforce its repeat infringer policy. (See id.)

         22.   For about one year after the parties executed the Agreement,

they enjoyed a cordial relationship. Complainant provided Respondent with

approved, short videos meticulously curated for promotional purposes that

are approximately 8-10 minutes in length with adequate watermarks and


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branding. Respondents posted them along with links and banners to

Complainant’s membership-based pay sites where Internet users could

purchase     subscriptions   to     watch     Complainant’s   full-length   videos.

Respondents would be paid a commission on any sales they generated for

AMA.

                      Respondents Resume Infringement

       23.   Approximately one year after the execution of the Agreement,

Respondents stopped posting AMA’s approved and legal videos. Instead,

their old, infringing activities resumed in earnest, with AMA’s full length videos

appearing on the Serviporno website with AMA’s branding removed.

       24.   On November 24, 2014, AMA’s principal confronted Borjan and

Serviporno about their theft and was provided insufficient excuses by Borjan

for the infringement. Borjan’s excuses proved to be particularly deficient

when he subsequently admitted that he reviews and manually approves

every video before it is posted on Serviporno. No video is ever posted on the

site without Respondents’ explicit approval.

       25.   AMA tested Respondents’ upload tool, a mechanism that allows

a website visitor to upload content to the website’s server for viewing on the

website, on December 2, 2014. AMA attempted to upload videos on four

separate occasions, and none was ever published on <serviporno.com>.




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       26.    The videos that AMA attempted to upload were never published

to the site because Respondents’ upload tool is a façade designed to cover

up Respondents’ own posting of infringing videos to the website.

       27.    Most tube sites have an active user community uploading videos

to the sites. However, Respondents’ Serviporno site has no apparent user

community. The videos on the site do not even identify which user uploaded

each video – a standard feature on tube sites from ones that feature adult

entertainment to YouTube and Vine.

       28.    As further evidence that users are not uploading videos on the

site, the Serviporno website does not feature a community page or user

profiles like other tube sites.

       29.    Most tube sites prominently feature their “sign in” or “registration”

links on the front page of the website in order to encourage website visitors to

join and begin uploading videos to the site. Serviporno’s “sign in” and

“registration” links are obscured as small links at the bottom of the site’s front

page next to the site’s terms and conditions and privacy policy. In other

words, Respondents have placed those links on an area of the page where

website visitors are least likely to see them.

       30.    Complainant AMA also discovered that many of the videos on

the Serviporno site exceeded the 100MB size limit of uploads permitted on

the Serviporno site, demonstrating that it was impossible that third party users




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of Serviporno uploaded the videos. The uploads must have been done by

Respondents themselves.

      31.   On January 6, 2015, AMA sent a cease and desist letter to

Respondents, which indicated that many of the videos on the Serviporno

website exceed the maximum upload size Respondents permitted.

      32.   In response, on January 8, 2015, Respondents increased the file

size upload limit to 1,000MB. However, Respondents still maintained that third

party users uploaded the videos in spite of massive evidence to the contrary.

      33.   Respondents asserted that the upload limit was different

depending upon where the Internet user was accessing the Serviporno site.

For example, while the upload size limit for the United States might be 100MB,

the upload limit for another country may be greater or smaller.

      34.   Complainant did not find Respondents’ assertion to be truthful.

      35.   Indeed,       Respondents’    assertion     regarding   geographically

determined upload limits was a lie. Complainant tested Respondents’

argument and used a proxy service to test the upload page from Spain,

Germany, France, and England to see if file size limits actually varied by

location. They did not.

                          Respondents’ Related Websites

      36.   Complainant AMA recently discovered that Respondents’

infringements of the copyrighted works of AMA and others extends far

beyond the Serviporno website.


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      37.    Respondents actually operate a network of geographically

targeted websites. Infringing and rebranded content appears on all of them.

      38.    Complainant cannot be sure whether it has discovered every

website Respondents use to further their copyright infringement. Currently,

Complainant is aware of three “rings” of websites that Respondents use to

infringe upon and profit from the copyrights of others.

      39.    Regarding the first ring, Serviporno is part of a ring of websites

that include the following:

             a. <serviporno.com>, which targets the Spanish market;

             b. <todayporn.com>, which targets the American market;

             c. <voglioporno.com>, which targets the Italian market;

             d. <pornodingue.com>, which targets the French market;

             e. <einfachporno.com>, which targets the German market;

             f. <pornodoido.com>, which targets the Brazilian market;

             g. <pornozot.com>, which targets the Dutch market;

             h. <pornoglu.com>, which targets the Turkish market;

             i.   <chikiporno.com>, which targets the Russian market; and

             j.   <seansporno.com>, which targets the Polish market.

Screenshots for each website within this first ring are attached hereto as

Exhibits 3.1 through 3.10.




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      40.     Once a video is posted on one of these sites, it will appear on

every other website within the ring with translation into the language of the

target market.

      41.     Each of these websites has the same design and style and was,

at one time, all linked to each of the other websites within the ring. Currently,

they are still linked together with the exception of <todayporn.com>.

Respondents removed the link to <todayporn.com> immediately after the

mediation, presumably to attempt to defeat U.S. jurisdiction should a lawsuit

ever arise.

      42.     Respondents’ second ring of websites includes the following:

              a. <pornburst.xxx>, which targets the American market;

              b. <bundesporno.xxx>, which targets the German market;

              c. <pornalia.xxx>, which targets the Italian market; and

              d. <gauleporno.xxx>, which targets the French market.

Screenshots for each website in this second ring are attached hereto as

Exhibits 4.1 through 4.4.

      43.     The second ring of websites shares the same design and style

and operates identically to the first ring of websites.

      44.     Respondents’ third ring of websites includes the following:

              a. <freemovies.tv>, which targets the American market;

              b. <canalporno.com>, which targets the Spanish market;

              c. <prendiporno.tv>, which targets the Italian market;


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             d. <pornodrome.tv>, which targets the French market;

             e. <nedporno.com>, which targets the Dutch market;

             f. <guterporn.com>, which targets the German market;

             g. <sexoquente.tv>, which targets the Brazilian market;

             h. <filmikiporno.tv>, which targets the Polish market;

             i.   <megaporno.tv>, which targets the Russian market; and

             j.   <pornovideolar.tv>, which targets the Turkish market.

Screenshots for each website in this third ring are attached hereto as Exhibits

5.1 through 5.10.

      45.    The third ring of websites shares the same design and style and

operates identically to the first and second rings of websites.

      46.    The three rings of websites do not operate independently of

each other. Respondents often place the same infringing videos on each

and every website in all three rings but will typically have three distinct titles –

one for each ring of sites.

      47.    It would be an understatement to say that it strains credibility to

argue that an Internet user would upload a video to all three rings of

websites with a distinctly different title for each ring and a translation of each

title for each website within each ring.

      48.    Respondents are uploading videos to all three rings themselves

and translating the video title for each website within each ring.




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      49.     On   June   8,   2015,     Complainant       AMA   discovered     that

Respondents had reviewed the entire Serviporno website and attempted to

remove each video owned by AMA from the site. Because all AMA branding

had been removed from the videos, it would have been difficult – if not

impossible – for any person but the uploader himself to recognize the content

as AMA’s. Respondents were clearly trying to destroy or conceal as much

evidence as possible in the middle of a legal dispute, as it happened days

after the parties engaged in unsuccessful mediation and before the parties’

legal issues were resolved.

      50.     Respondents’ removal of AMA’s content is further evidence of

their guilt. An innocent party would not remove content and destroy all

evidence if that party was not liable under the Digital Millennium Copyright

Act (the “DMCA”) because third parties had uploaded the videos.

      51.     The videos removed from Serviporno were removed from each

and every Respondent website, regardless of which ring they were

associated with. The videos Respondents failed to remove remained active

on all of three rings. Thus, the video files are not associated with different

users for each ring of sites but are connected in Respondents’ backend,

further   demonstrating   that     Respondents       are   uploading   the    videos

themselves.

      52.     Defendants’ sites contain a directory of “Pornstar” pages to

allow users to find infringing videos featuring their favorite adult stars. Each


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pornstar page has a manually cropped image of the star along with a

biography. Website users would have no mechanism for altering these

images, the biography text, or the pornstar page itself.

      53.    Respondents have three infringed images on three unique

pornstar pages across their Websites. The AMA images that were stolen and

uploaded by Respondents for their “Pornstar” biography pages were taken

from video productions that occurred in 2014, at least 6 months from the

execution of the Agreement.

      54.    Respondents were not able to locate or remove all of

Complainant’s videos from the sites. Currently, AMA is aware that sixteen (16)

of its videos are still contained on Respondents’ sites. AMA is additionally

aware that three (3) of its images are located on Respondents’ sites.

      55.    This number is far less than the amount of videos previously on

Respondents’ sites.

      56.    Each and every time Respondents think that AMA has

discovered a different part of Respondents’ illegal scheme, Respondents

alter the websites in an attempt to frustrate Complainant’s claims.

                                CLAIMS FOR RELIEF

        First Claim for Relief – Copyright Infringement (17 U.S.C. § 501)

      57.    Complainant repeats and realleges each and every preceding

paragraph as if set forth fully herein.




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         58.   AMA is the owner of at least nineteen (19) timely registered works

that are or were copied and/or distributed, without authorization, on one or

more of the websites controlled and operated by Respondents.

         59.   The number of infringements on Respondents’ websites grows

daily.

         60.   Respondents reproduced, reformatted, and distributed AMA’s

copyrighted works through servers and other hardware that they owned,

operated, or controlled.

         61.   Respondents     infringed   AMA’s        copyrights   through   their

reproduction and distribution of Complainant’s works through the websites

referenced herein without AMA’s approval or authorization.

         62.   Respondents knew or should have known that they did not have

authorization to exploit AMA’s copyrighted works and that their actions

constituted copyright infringement.

         63.   Respondents engaged in intentional, knowing, negligent, or

willfully blind conduct that demonstrates they engaged actively in the

unlawful collection and distribution of AMA’s copyrighted works.

         64.   The copyrighted files on Respondents’ websites increased the

appeal of those sites, increasing Respondents’ revenue.

         65.   Respondents actively encourage the users of the websites to

upload infringing material.




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      66.     Respondents     upload      infringing    material   to   the   websites

themselves.

      67.     On information and belief, Respondents uploaded some or all of

the infringing videos onto the websites themselves.

      68.     Respondents’ conduct was willful within the meaning of 17 U.S.C.

§ 101 et seq.    At minimum, Respondents acted with willful blindness and

reckless disregard of AMA’s registered copyrights.

      69.     Respondents     are    liable    to      Complainant      for   copyright

infringement.

      70.     Under 17 U.S.C. § 504, AMA may recover damages, including

readily ascertainable direct losses and all profits Respondents made by their

wrongful conduct; alternatively, the law permits AMA to recover statutory

damages. Id. § 504(c).

      71.     Since infringement was willful, AMA is entitled to enhanced

statutory damages of $150,000 per instance of infringement. Id. § 504(c)(2).

        Second Claim for Relief – Contributory Copyright Infringement

      72.     Complainant repeats and realleges each and every preceding

paragraph as if set forth fully herein.

      73.     Respondents had actual or constructive knowledge regarding

the infringement occurring on their websites or were willfully blind to the

infringements.




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      74.    Respondents’ infringement was committed by third-party users of

Respondents’ websites, who distributed AMA’s works without permission.

      75.    Respondents induced, caused, or materially contributed to this

third party infringement by providing the websites, and specifically through

certain features the websites designed to encourage users to upload

copyright protected videos.

      76.    Respondents assisted these third parties in organizing these

infringing works on its website.

      77.    Respondents received a direct financial benefit from the third

party copyright infringement and are liable to Complainant.

            Third Claim for Relief – Vicarious Copyright Infringement

      78.    Complainant repeats and realleges each and every preceding

paragraph as if set forth fully herein.

      79.    Respondents had specific (or at least general) knowledge of

copyright infringement occurring on their websites.

      80.    Respondents had the right and ability to control access to,

remove, or disable the infringing materials.

      81.    Respondents profited from the infringement.

      82.    Respondents declined their right to delete or disable infringing

content and are liable to Complainant.

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        Fourth Claim for Relief – Inducement of Copyright Infringement

      83.    Complainant repeats and realleges each and every preceding

paragraph as if set forth fully herein.

      84.    Respondents designed and distributed technology and induced

individuals to use this technology to promote the copyrighted material on

Respondents’ websites, including material belonging to Complainant.

      85.    As a direct and proximate result of Respondents’ inducement,

users of Respondents’ websites infringed Complainant AMA’s works through

Respondents’ websites.

      86.    Respondents’ inducement was willful, knowing, willfully blind, or

negligent. At all pertinent times, Respondents acted with disregard for and

indifference to AMA’s copyrights.

             Fifth Cause of Action – Violation of 17 U.S.C. § 1202(b)

      87.    Complainant repeats and realleges each and every preceding

paragraph as if set forth fully herein.

      88.    Respondents affixed the logos of their websites to every

infringing work on the Respondents’ website.

      89.    Respondents attached their logos to the infringing works without

AMA’s knowledge or permission.

      90.    Respondents’ use of their logos constitutes “false copyright

management information,” as it falsely informs the public that Respondents




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are the owners, rights owners, and licensees of the infringing videos and that

they have the right to show them.

      91.    Respondents knowingly added this copyright management

information to the infringing works with the intent to induce, enable, facilitate,

and conceal infringement.

                  Sixth Cause of Action – Breach of Contract

      92.    Complainant repeats and realleges the allegations of the

preceding paragraphs as if set forth fully herein.

      93.    On or about August 19, 2013, Complainant and Respondents

entered into the Agreement to resolve their dispute regarding the presence

of   Complainant’s    copyrighted     content     on   Respondent’s   Serviporno

webpage.

      94.    In that Agreement, Respondents agreed to remove all infringing

AMA material upon notification by AMA and to provide AMA with all

information in their possession about the uploader, including links to all of the

uploader’s uploads. (See Exhibit 1, at ¶ 3.1.)

      95.    Respondents additionally agreed to comply with any subpoena

sent to them by Complainant pursuant to the DMCA and to not challenge

any subpoena from Complainant for lack of jurisdiction. (See id., at ¶ 3.3.)

      96.    The Agreement is valid and binding.

      97.    Complainant has performed in full all of its obligations,

covenants, and conditions contained in the Agreement, except for those


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obligations, covenants, and conditions from which it has been lawfully

excused from performing.

      98.     On January 26, 2015, Complainant issued a valid subpoena to

Respondents regarding infringement upon the Serviporno website. On March

11, 2015, Respondents violated the Agreement by objecting to the subpoena

with regard to personal jurisdiction and not providing all information in their

possession regarding who was uploading the infringing videos onto

Serviporno.

      99.     Respondents additionally breach the Agreement on a regular

and continuing basis by either uploading infringing videos themselves or

turning a blind eye to website users who upload infringing videos.

      100.    As a direct and proximate result of Respondents’ breaches of

contract, Complainant AMA has been damaged in an amount to be

determined at arbitration.

      101.    Complainant AMA has been forced to retain legal counsel to

pursue its rights and seeks recovery of its attorneys’ fees and costs.

                               PRAYER FOR RELIEF

      AMA respectfully requests that the Arbitrator hereby:

      A.      Enter a judgment that Respondents willfully infringed upon AMA’s

rights in federally registered copyrights pursuant to 17 U.S.C. § 501 through

direct, contributory, vicarious, and/or inducing acts;




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      B.     Issue   injunctive    relief   against   Respondents,   their   agents,

representatives, employees, attorneys, successors, and assigns, and all others

acting with or on behalf of Respondents and enjoin Respondents from

copying, posting, or making any other infringing use of AMA’s audiovisual

works pursuant to 17 U.S.C. § 502;

      C.     Issue   injunctive    relief   against   Respondents,   their   agents,

representatives, employees, attorneys, successors, and assigns, and all others

acting with or on behalf of Respondents and enjoin Respondents from

engaging in further copyright infringement; and if they are unable or

unwilling to comply, to issue an order shutting down each and every website

owned or controlled by Respondents, including but not limited to the ones

listed in this Arbitration Complaint;

      D.     Enter an order enjoining Respondents from disposition of any

property, including their domain names, until full and final settlement or

payment of any and all money damage judgments;

      E.     Enter an order requiring a full and complete accounting of all

amounts due and owed to AMA as a result of Respondents’ illegal or

improper activity, whether criminal or civil in nature;

      F.     Enter an order directing Respondents to pay AMA statutory

damages of maximum enhanced statutory damages of $150,000 per

infringed work pursuant to 17 U.S.C. § 504(c)(2), for Respondents’ willful

infringement of AMA’s copyrights;


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             G.        Enter an order    directing        Respondents   to pay     AMA   statutory

       damages       of $25,000 per instance      of placing     false copyright    management

       information    on the infringing works pursuant to 17 U.S.C. § 1203(c) (3) (A);

             H.        Enter an order directing    Respondents to pay AMA both the costs

       of the action      and reasonable     attorneys'      fees incurred   in prosecuting    the

       action pursuant to 17 u.s.c. § 505;

             I.        Enter an order directing       Respondents       to pay     pre- and   post-

       judgment      interest at the highest legal rate; and

             J.        Grant AMA all further relief in law and equity that the Arbitrator
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«      deems appropriate.


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LLJ
_J     Dated this    2._ day of              2015.



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«                                                      rc J. Rerfidazz·
C                                                  Ronald D. Green,
                                                   RANDAZZA LEGAL GR-PUP
Z                                                  3625 South Town Center Drive, Suite 150
«
0:::
                                                   Las Vegas, NV 89135
                                                   Tel: (702) 420-2001
                                                   Fax: (702) 420-2003
                                                   ecf@randazza.com




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